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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

State of Illinois
                            Plaintiff,
v.                                                 Case No.: 1:17−cv−06260
                                                   Honorable Robert M. Dow Jr.
City Of Chicago
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 12, 2021:


       MINUTE entry before the Honorable Robert M. Dow, Jr: Settlement conference
held on 4/12/2021. Settlement conference will be held on 4/26/2021 at 2:00 p.m. by video
conference. Independent Monitoring Team will provide Zoom link to all participants.
Emailed notice(cdh, )




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